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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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IN THE UNITED STATES DISTRICT COURT
IN THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
ex rel. CHARLES GONZALES,

Plaintiffs,

Vv.

VITAS HEALTHCARE
CORPORATION, a Florida
corporation; and VETAS

ALTHCARE CORPORATION
OF CALIFORNIA, a California
corporation,

Defendants.

 

 

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COMPLAINT FOR MONEY
DAMAGES AND CIVIL
PENALTIES FOR VIOLATIONS
OF THE FALSE CLAIMS ACT

DEMAND FOR JURY TRIAL

[FILED IN CAMERA AND UNDER SEAL
PURSUANT TO 31 U.S.C. § 3730(b)(2)]

 

 

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IN THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES OF AMERICA Cas NY. L2 07 6 t~ A
ex rel, CHARLES GONZALES, (Ato
Plaintiffs, COMPLAINT FOR MONEY
DAMAGES AND CIVIL
v. PENALTIES FOR VIOLATIONS
OF THE FALSE CLAIMS ACT
VITAS HEALTHCARE
CORPORATION, a Florida
corporation: and VITAS DEMAND FOR JURY TRIAL
HEALTHCARE CORPORATION
OF CALIFORNIA, a California
corporation,
Defendants.
[FILED IN CAMERA AND UNDER SEAL
PURSUANT TO 31 U.S.C. § 3730(b)(2)]
COMPLAINT

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FIRST CAUSE OF ACTION

On Behalf of the United States

Federal False Claims Act, Presenting False Claims

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SECOND CAUSE OF ACTION

On Behalf of the United States :

Federal False Claims Act, Making or Using False Records or

Statements Material to Payment or Approval of False Claims

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THIRD CAUSE OF ACTION

In the Alternative)
n Behalf of the United States Federal False Claims Act,

Retention of Proceeds to Which Not Entitled

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Plaintiff UNITED STATES OF AMERICA (“United States”), by and
through Relator CHARLES GONZALES, alleges as follows:
I. INTRODUCTION

1. Relator Doctor Charles Gonzales (“Dr. Gonzales” or “Relator”)
brings this action on behalf of the United States to recover losses sustained by the
Medicare Program as a result of the Los Angeles operations of Defendants VITAS
HEALTHCARE CORPORATION and VITAS HEALTHCARE CORPORATION
OF CALIFORNIA (collectively, “Defendants,” “Vitas Los Angeles,” or “Vitas”).
Over the course of at least the past seven years, Vitas Los Angeles has defrauded
the government by systematically falsely certifying that a large number of its
patients are eligible for hospice care, when they are not.

2. Vitas Los Angeles is the largest for-profit hospice care provider in
Southern California. By systematically submitting false certifications and
recertifications, Vitas Los Angeles has collected significant amounts of money
from Medicare, padding its profits at the expense of taxpayers. Vitas Los Angeles
purports to have hundreds of hospice appropriate patients at any given time in the
Los Angeles area for whom it submits claims for reimbursement to Medicare.
Many of these patients remain on hospice care for years, with little or no decline in
heath, and require little in resources from Vitas.

3. Relator Dr. Gonzales was employed by Vitas Los Angeles from 2004
to 2011. Dr. Gonzales possesses detailed and extensive information about Vitas
Los Angeles’ systematic and fraudulent certification and recertification of patients
as eligible for hospice care. During his tenure he received constant and strong
pressure from Vitas Los Angeles’ management to certify and/or recertify patients
as eligible for Medicare hospice care who were not eligible under the pertinent
regulations and industry standards.

4. Dr. Gonzales repeatedly disagreed with Vitas Los Angeles’ fraudulent

practices. As a result of his continued disagreement with management, Dr.

 

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Gonzales experienced retaliation and eventually left Vitas in May 2011.

5, Over the past decade, Vitas Los Angeles has submitted thousands of
false certifications of hospice eligibility to Medicare for patients in Los Angeles,
Each of those false certifications has cost Medicare — and United States taxpayers
— thousands of dollars in hospice benefits that should not have been paid.

6. This is a gui tam action for violation of the federal False Claims Act
(31 U.S.C. §§ 3150 et seq.), to recover the millions of dollars out of which Vitas
Los Angeles has defrauded Medicare, in addition to treble damages, statutory
penalties, and Relator’s fees and costs. Non-public information personally known
to Relator serves as the basis for this action. On information and belief, the United
States had no knowledge of the scheme being perpetrated by Vitas Los Angeles, as
detailed below, until January 2012.

II. JURISDICTION AND VENUE

7. This Court has jurisdiction over the claims raised in this complaint
under 28 U.S.C. § 1331 as they arise under Federal law. This Court also has
jurisdiction over this action pursuant to 31 U.S.C. § 3732, which confers
jurisdiction for claims brought under the False Claims Act on the District Courts
of the United States.

8. Venue is proper pursuant to 31 U.S.C. § 3732(a), as all Defendants
transact business in this District.

Ill. PARTIES
9, The Plaintiff in this action is the UNITED STATES OF AMERICA

(“United States”) by and through Relator CHARLES GONZALES.

10. Relator CHARLES GONZALES is a licensed physician, Board
Certified in Hospice and Palliative Care, and former employee of Defendants, and
is an original source of the information contained herein. Dr. Gonzales voluntarily
provided the Government with the information contained herein before bringing

this action.

 

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11. Defendant VITAS HEALTHCARE CORPORATION is a Florida
corporation which conducts business in Los Angeles County.

12. Defendant VITAS HEALTHCARE CORPORATION OF
CALIFORNIA is a California corporation which conducts business in Los
Angeles County.

IV. OVERVIEW OF THE SCHEME

A. THE UNITED STATES MEDICARE SYSTEM

13. Medicare is a federally-funded health care program that provides
medical insurance coverage to qualified residents of the United States who are
aged 65 and older, younger people with permanent or congenital disabilities, or
those who meet other special criteria like the End Stage Renal Disease program.
The vast majority of Medicare’s costs are paid by United States citizens through
their taxes. In addition to paying for medical expenses such as doctor visits and
hospital stays, Medicare pays for what is known as hospice care for eligible
Medicare recipients.

14. Title XVII of the Social Security Act establishes the Medicare
Program (technically, the “Health Insurance for the Aged and Disabled Program’).
See 42 U.S.C. §§ 1397 et seq.

15. The United States provides reimbursement for Medicare claims from
the Medicare Trust Funds through the Centers for Medicare & Medicaid Services
(“CMS”), which is the operating division of the United States Department of
Health & Human Services (“HHS”). CMS, in turn, contracts out to Medicare
Administrative Contractors (“MACs”) to review, approve, and pay Medicare
claims received from health care providers like Vitas.

16. Payments are typically made directly to health care providers rather
than the patient, as Medicare recipients routinely assign their right to payment to
the health care provider, such as Vitas. Once a Medicare recipient assigns their

right to payment to a provider, the provider then submits its bill directly to

 

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Medicare for payment.

17. To bill Medicare, a provider must submit an electronic or hard-copy
claim form called a CMS-1500 form. When submitting the form, the provider
must certify that the services in question were “medically indicated and necessary
for the health of the patient.”

18. The CMS-1500 form requires the provider to state, among other
things, the procedure(s) for which it is billing Medicare, the provider number, the
identity of the patient, and a short narrative explaining the diagnosis and the
medical necessity of services that the provider rendered.

19. All healthcare providers, including Vitas, must comply with all
applicable statutes, regulations, and guidelines in order to be reimbursed by
Medicare. Providers have a duty to have knowledge of the relevant statutes,
regulations, and guidelines regarding coverage for Medicare services. For
example, Medicare remburses only reasonable and necessary medical services
furnished to beneficiaries and excludes from payment services that are not
reasonable and necessary. See 42 U.S.C. § 1395y(a){1)(A); see also 42 C.F.R.

§ 411.115(k). Providers must also assure that they provide medical services to
Medicare recipients “economically and only when, and to the extent, medically
necessary.” 42 U.S.C. § 1320c-5(a)(1).

20. Because it is not realistically feasible to review medical
documentation before paying each claim, MACs generally make payment under
Medicare based on the providers’ certification on the Medicare claim form that the
services in question were “medically indicated and necessary for the health of the
patient.”

B. HOSPICE CARE

21. Hospices aim to provide palliative care, as opposed to curative care,
to patients in the last six months of their lives. Palliative care is aimed at relieving

the pain, symptoms, and/or stress of terminal illness and includes a comprehensive

 

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set of medical, social, psychological, emotional, and spiritual services provided to
a terminally ill individual. Medicare recipients of palliative care agree to forego
curative treatment of their terminal illness.

22. Pursuant to Medicare regulations, in order to be eligible to elect
hospice care, an individual must be (1) entitled to Medicare and (2) certified as
“terminally ill” in accordance with 42 C.F.R.§ 418.22. See 42 C.F.R.§ 418.20.

23. Under Medicare regulations, “terminally ill” means that a person “has
a medical prognosis that his or her life expectancy is 6 months or less if the illness
runs its normal course.” See 42 C.F.R.§ 418.3.

24. Hospice care is available to individuals for two initial ninety (90) day
periods, followed by an unlimited number of sixty (60) day periods, provided that
at the beginning of each period a physician certifies the individual’s terminal
condition in writing.

25. The first 90-day period must be certified by (a) the Medical Director
of the hospice or a physician-member of the hospice inter-disciplinary group; and
(b) the individual’s attending physician, provided there is one. 42 C.F.R.

§ 418.22(c)(1). For subsequent periods, the only requirement is certification by
one of those physicians. 42 C.F.R. § 418.22(c)(2).

26. The written certification must: (1) specify that the individual’s _
prognosis is for a life expectancy of 6 months or less if the terminal illness runs its
normal course; (2) contain clinical information and other documentation that
supports the medical prognosis; (3) contain a brief narrative explanation of the
clinical findings that supports a life expectancy of 6 months or less; and (4) be
signed and dated by the physician(s). 42 C.F.R. § 418.22(b).

27. Based on the number of days and level of care provided, hospices are
paid a per diem rate. 42 C.F.R. § 418.302. Medicare’s requirements for coverage
are:

To be covered, hospice services must meet the following
requirements. They must be reasonable and necessary for the

 

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palliation and management of the terminal iliness as well as
related conditions. The individual must elect hospice care in
accordance with § 418.24. A plan of care must be established and
periodically reviewed by the attending physician, the medical

irector, and the Interdisciplin group of the hospice program
as set forth in § 418.56. That p an of care must be established
before hospice care is provided. The services provided must be
consistent with the plan of care. A certification that the individual
is. ferminally ill must be completed as set forth in section §

42 C.F.R. § 418.200.

28. To participate, hospices must maintain a clinical record with “correct
clinical information” on each hospice patient. All entries in the clinical record
must be “legible, clear, complete, and appropriately authenticated and dated .. .”
42 C.F.R. § 418.104.

29. Local coverage determinations (“LCD”) specify under what clinical
circumstances a service is considered to be “reasonable and necessary” and
therefore covered by Medicare. MACs issue LCDs to provide guidance to the
public and medical community within their jurisdictions. MACs develop LCDs by
“considering medical literature, the advice of local medical societies and medical
consultants, public comments, and comments from the provider community.”
Medicare Program Integrity Manual, Chapter 13 § 13.1.3.

30. Hospice providers in Los Angeles currently receive approximately
$5,300, per patient, per month (moreover, if a patient is deemed to require
“Continuous Home Care,” i.e., 24-hour care, the Medicare hospice reimbursement
rate for Los Angeles is over $1,000 per day). A false certification or
recertification is thus very costly to taxpayers, and very profitable for Vitas Los
Angeles. Patients who should not qualify for hospice are especially profitable,

because they typically require less care, and the expenditure of fewer resources.

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Vv. VITAS LOS ANGELES KNOWINGLY ENGAGED IN A PATTERN
AND PRACTICE OF FALSELY CERTIFYING PATIENTS FOR

MEDICARE HOSPICE BENEFITS
31. Over the past decade, Vitas Los Angeles knowingly submitted or

 

caused the submission of false claims to Medicare, and created false records and
statements to receive reimbursement from Medicare for hospice care. Each of
those false certifications cost Medicare at least ten thousand dollars in hospice
benefits that should not have been paid.

32. During this time, Vitas falsely certified on claim forms submitted to
Medicare that hospice care provided to Medicare recipients was “medically
indicated and necessary for the health of the patient.” Vitas created and/or
submitted documentation that falsely represented that certain Medicare recipients
were “terminally ill,” meaning that individual has “a medical prognosis that his or
her life expectancy is 6 months or less if the illness runs its normal course.” Many
of the Medicare recipients that Vitas provided hospice care to were ineligible for
hospice care paid for by Medicare as they did not have a “medical prognosis of six
months or less to live if the illness runs its normal course.”

33. As the largest for-profit provider of hospice care in Los Angeles,
Vitas is a sophisticated hospice provider that is fully knew and appreciated
Medicare statutes, Medicare regulations, the definition of “terminally ill,” and the
LCDs that set out medical criteria for determining whether individuals with certain
diagnoses have a prognosis of six months or less to live.

34. Vitas Los Angeles knew, deliberately ignored, or recklessly
disregarded that the claims it submitted to Medicare falsely represented the
medical condition and hospice eligibility of the beneficiaries. Furthermore, Vitas
Los Angeles knew or recklessly disregarded that its business practices would lead
to the submission of false claims to Medicare by providing hospice services to

ineligible beneficiaries.

 

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35. This pattern and practice of false certification and recertification was
engaged in at the direction and control of upper management for the Los Angeles
region. The Vitas Los Angeles management personnel who asserted this direction
and control included:

Belinda Hodges, Patient Care Administrator for Los Angeles
Susan Fishenfold, General Manager for Los Angeles

Kevin Klein, Medical Director for Los Angeles

Sharon Wells, Team Manager

36. This direction and control was asserted in various settings. For
example, each week, the Team Managers would meet with each regional team
within Los Angeles (there are 10 to 12 regional teams covering Vitas Los
Angeles’ operations). During those meetings, if a suggestion was made that a
patient no longer qualifies for hospice, the Team Managers (such as Sharon Weils)
would fabricate a rationale for keeping the patient on hospice or instruct the Team
Doctors to do so. If there was continued disagreement, the case was referred to
Belinda Hodges. Hodges then applied further pressure on the dissenting team
member, and instructed the Team Doctors what to state in the physician notes in
order to ensure that the patient continues to qualify for hospice, no matter how
untrue. Notably, neither Wells nor Hodges are doctors.

37. As to patients for which Wells or Hodges could not easily fabricate a
justification for recertification, those patients were sent to the Medical Director
Review Committee. Inevitably, that Committee, headed by Medical Director
Kevin Klein, falsely determined that the patient qualified for hospice care, and
instructed the Team Doctor to recertify the patient for hospice. On information
and belief, these practices continue.

38. Asaresult of these practices, many of Vitas Los Angeles’ patients
remain on hospice for years, with little or no decline in health, and requiring little

in resources from Vitas. Vitas Los Angeles, meanwhile, continues to collect

 

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significant amounts from Medicare for each patient, padding its profits at the
expense of taxpayers.
VI. EVIDENCE OF THE SCHEME

39. Relator is aware of many patients that Vitas Los Angeles has
improperly certified and/or re-certified. Again, under Medicare regulations, in
order for an individual to qualify for hospice benefits, a physician must certify that
the individual has a terminal illness, and has less than six months to live if the
illness runs its normal course. See 42 C.F.R. § 418.20. Ifthe patient survives for
more than 90 days, in order for the patient to remain on hospice, a physician must
re-certify that the patient it terminal, and has less than six month to live. See 42
U.S.C. § 1395f(a)(7). Further re-certification must be made every 60 days
thereafter. See id. The following are some examples of how Defendant Vitas
systematically and intentionally falsely certifies large numbers of its patients as
eligible for hospice care, when they are not:

40. Patient J.W. was admitted by Vitas to hospice on March 27, 2008,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still in hospice when
Relator left Vitas in May of 2011, three years later. Vitas Los Angeles frequently
uses the amorphous diagnosis of “dementia” to falsely certify and re-certify
patients who do not have any diagnosis that meets the appropriate criteria.

41. Patient D.G. was admitted by Vitas to hospice on March 13, 2009,
with a diagnosis of dementia. The patient had been discharged for an extended
prognosis from another hospice right before she was admitted to Vitas. Vitas Los
Angeles improperly certified, and repeatedly recertified, this patient as qualifying
for Medicare hospice benefits, when she did not in fact qualify. As a result, the
patient was still in hospice when Relator left Vitas in May of 2011.

42. Patient J.P. was admitted by Vitas to hospice on August 29, 2008,

 

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with a diagnosis of chronic obstructive pulmonary disease. Vitas Los Angeles
improperly certified, and repeatedly recertified, this patient as qualifying for
Medicare hospice benefits, when she did not in fact qualify. As a result, the
patient was still in hospice when Relator left Vitas in May of 2011.

43. Patient E.R. was admitted by Vitas to hospice on October 3, 2009,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still in hospice when
Relator left Vitas in May of 2011.

44. Patient $.S. was admitted by Vitas to hospice on October February
13, 2009, with a diagnosis of Friedreichs Ataxia. Vitas Los Angeles improperly
certified, and repeatedly recertified, this patient as qualifying for Medicare hospice
benefits, when he did not in fact qualify. As a result, the patient was still in
hospice when Relator left Vitas in May of 2011.

45. Patient Z.G. was admitted by Vitas to hospice on July 30, 2007, with
a diagnosis of dementia. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when she did
not in fact qualify. As a result, the patient was still in hospice when Relator left
Vitas in May of 2011.

46. Patient M.G. was admitted by Vitas to hospice on September 1, 2006.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as
qualifying for Medicare hospice benefits, when she did not in fact qualify. The
patient died on hospice in 2010, after having received hospice care for over three
years.

47. Patient M.W. was admitted by Vitas to hospice on January 15, 2009,
with a diagnosis of dementia. Vitas Los Angeles improperly and repeatedly
recertified this patient as qualifying for Medicare hospice benefits, when she did

not in fact qualify. As a result, the patient remained on hospice for over two years

 

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prior to dying in the spring of 2011.

48. Patient B.M. was admitted by Vitas to hospice on August 2, 2010,
with a diagnosis of “debility.” The patient was still in hospice when the relator
left Vitas in May of 2011. Vitas Los Angeles frequently uses the amorphous
diagnosis of “debility” to falsely certify and recertify patients who do not have any
diagnosis that meets the appropriate criteria. This is one such patient.

49. Patient A.M. was admitted by Vitas to hospice on March 3, 2008,
with a diagnosis of debility. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still in hospice when
relator left Vitas in May of 2011.

20. Patient L.H. was admitted by Vitas to hospice on October 6, 2008,
with a diagnosis of “failure to thrive.” Vitas Los Angeles improperly certified,
and repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. “Failure to thrive” is another amorphous
certification used by Vitas to falsely certify and recertify patients for hospice care.
The patient died in fall of 2010, after having received hospice care for
approximately two years.

51. Patient RP. was admitted by Vitas to hospice on June 19, 2009, after
having suffered a stroke, Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when she did
not in fact qualify. As a result, the patient was still in hospice when relator left
Vitas in May of 2011.

52. Patient R.M. was admitted by Vitas to hospice on May 3, 2010, with a
diagnosis of colon cancer. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when he did
not in fact qualify. As a result, the patient was still in hospice when relator left
Vitas in May of 2011.

 

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33. Patient V.G. was admitted by Vitas to hospice on February 7, 2008,
with a diagnosis of cardiovascular disease. Vitas Los Angeles improperly
certified, and repeatedly recertified, this patient as qualifying for Medicare hospice
benefits, when she did not in fact qualify. The patient died in the fall of 2010 after
having received hospice care for approximately a year and a half.

54. Patient A.M. was admitted by Vitas to hospice on March 22, 2000.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as
qualifying for Medicare hospice benefits, when he did not in fact qualify. Asa
result, the patient stayed on hospice for at least approximately six years. He was
last seen by Relator on January 23, 2006, in his home.

55. Patient R.A. was admitted by Vitas to hospice on April 27, 2004, with
a diagnosis of dementia. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when she did
not in fact qualify. As a result, the patient stayed on hospice for at least three and
a half years. She was last seen by Relator on October 9, 2007, and on information
and belief, lived at least one or two more years, on hospice.

56. Patient A.D. was admitted by Vitas to hospice on April 1, 2004, with
a diagnosis of lymphoma. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when she did
not in fact qualify. As a result, the patient was still alive, and still receiving
hospice benefits, over three years later. Relator last saw her on June 1, 2007.
Relator repeatedly insisted to Vitas Los Angeles’ management that she be
discharged from hospice. Vitas repeatedly refused. As a result, Relator refused to
recertify her, and asked to be taken off of her case. Subsequently, another Vitas
Team Doctor continued recertifying the patient, and did so without personally
visiting or examining the patient.

57. Patient F.K. was admitted by Vitas to hospice on October 25, 2005.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as

 

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qualifying for Medicare hospice benefits, when she did not in fact qualify. Asa
result, the patient was still alive, and still receiving hospice benefits, two years
later, on October 12, 2007, when she was last seen by Relator. On information
and belief, she lived for at least one or two more years, still on hospice.

58. Patient J.D. was admitted by Vitas to hospice on October 3, 2005.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as
qualifying for Medicare hospice benefits, when she did not in fact qualify. Asa
result, the patient was still alive, and still receiving hospice benefits, over two
years later, on October 28, 2007, when she was last seen by Relator. On
information and belief, she lived for at least one or two more years, still on
hospice.

59. Patient S.A. was admitted by Vitas to hospice on May 25, 2003, with
a diagnosis of Dementia. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when she did
not in fact qualify. As a result, the patient was still alive, and still receiving
hospice benefits, over two years later, on September 17, 2005, when she was last
seen by Relator. She passed away shortly thereafter. This patient is an example of
a patient that, while squarely qualified for hospice benefits at the end of her stay,
did not qualify at the beginning or middle of her hospice stay. At the very least,
Vitas should have discharged her for an extended prognosis after six months to
one year. Vitas Los Angeles rarely, if ever, did so with such patients. Vitas Los
Angeles’ pattern, practice, and policy was to keep all patients on hospice, with the
hope that they would eventually decline sufficiently to legitimately qualify for
hospice benefits.

60. Patient G.K. was admitted by Vitas to hospice on March 13, 2008.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as
qualifying for Medicare hospice benefits, when he did not in fact qualify. Asa

result, the patient lived, still receiving hospice benefits, for at least approximately

 

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two years.

61. Patient V.S. was admitted by Vitas to hospice on December 2, 2006,
with a diagnosis of debility. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient lived, still receiving
hospice benefits, through at least 2009.

62. Patient L.L. was admitted by Vitas to hospice on March 5, 2007, with
a diagnosis of “failure to thrive.” Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient lived, still receiving
hospice benefits, through at least 2010.

63. Patient R.O. was admitted by Vitas to hospice on December 11, 2006,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still alive, and still
receiving hospice benefits, over two years later, on January 29, 2009, when she
was last seen by Relator. In information and belief, she remained alive and on
hospice through at least 2010.

64. Patient H.B. was admitted by Vitas to hospice on January 25, 2008,
with a diagnosis of debility. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still alive, and still
receiving hospice benefits, almost three years later, on January 7, 2011, when she
was last seen by Relator.

65, Patient R.T. was admitted by Vitas to hospice on December 16, 2007,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,

when he did not in fact qualify. As a result, the patient was still alive, and still

 

COMPLAINT 14
Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 18 of 29

 
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receiving hospice benefits, over two years later, on January 7, 2011, when he was
last seen by Relator.

66. Plaintiff J.S. was admitted by Vitas to hospice on August 8, 2008,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when he did not in fact qualify. As a result, the patient was still alive, and stilt
receiving hospice benefits, over two years later, on January 11, 2011, when he was
last seen by Relator.

67. Patient L.B. was admitted by Vitas to hospice on August 9, 2007,
with a diagnosis of debility. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still alive, and still
receiving hospice benefits, over three years later, on January 14, 2011, when she
was last seen by Relator.

68. Patient R.M. was admitted by Vitas to hospice on March 31, 2009,
with a diagnosis of dementia. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still alive, and still
receiving hospice benefits, over two years later, in May 2011.

69. Patient E.R. was admitted by Vitas to hospice on November 13, 2006.
Vitas Los Angeles improperly certified, and repeatedly recertified, this patient as
qualifying for Medicare hospice benefits, when he did not in fact qualify. Asa
result, the patient was still alive, and still receiving hospice benefits, over four and
a half years later, when Relator left Vitas in May of 2011.

70. Patient A.Z. was admitted by Vitas to hospice on April 11, 2008, with
a diagnosis of debility. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when he did

not in fact qualify. As a result, the patient was still alive, and still receiving

 

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hospice benefits, over two years later, in May 2010, when he was seen by Relator.

71. Patient R.C. was admitted by Vitas to hospice on January 12, 2007,
with a diagnosis of “adult failure to thrive.” Vitas Los Angeles improperly
certified, and repeatedly recertified, this patient as qualifying for Medicare hospice
benefits, when she did not in fact qualify. As a result, the patient received
approximately three years of hospice benefits before passing away.

72. Patient G.B. was admitted by Vitas to hospice on June 8, 2004, with a
diagnosis of dementia. Vitas Los Angeles improperly certified, and repeatedly
recertified, this patient as qualifying for Medicare hospice benefits, when he did
not in fact qualify. As a result, the patient received approximately six years of
hospice benefits before passing away.

73. Patient R.K. was admitted by Vitas to hospice on November 13, 2008,
with a diagnosis of Parkinsons. Vitas Los Angeles improperly certified, and
repeatedly recertified, this patient as qualifying for Medicare hospice benefits,
when she did not in fact qualify. As a result, the patient was still receiving
hospice benefits two and a half years later, when Relator left Vitas.

74. The hospice stay of the above patients averages approximately two
years and seven months. Each patient thus had to be certified and recertified by
Vitas Los Angeles an average of at least fourteen (14) times. Thus for just these
thirty-four examples, Vitas Los Angeles submitted approximately 476 false
certifications or recertifications. Each of those false certifications or
recertifications cost Medicare — and therefore taxpayers — at least ten thousand

dollars.

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COMPLAINT 16
Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 20 of 29

 
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VII. CAUSES OF ACTION
FIRST CAUSE OF ACTION
On Behalf of the United States
Federal False Claims Act, Presenting False Claims
31 U.S.C. § 3729(a)(1)(A)

75. Plaintiff incorporates herein by reference and realleges the allegations
stated in Paragraphs 1 through 74, inclusive, of this Complaint.

76. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1))
presented or caused to be presented false claims for payment or approval to an
officer or employee of the United States.

77. Defendants knowingly presented false records and statements,
including but not limited to claims, bills, invoices, requests for reimbursement,
and records of services, in order to obtain payment or approval of charges by the
Medicare program for hospice services for patients who were not eligible for
Medicare hospice benefits during all or part of the time.

78. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(A) and
was a substantial factor in causing the United States to sustain damages in an
amount according to proof.

SECOND CAUSE OF ACTION
On Behalf of the United States
Federal False Claims Act, Making or Using False Records or Statements
Material to Payment or Approval of False Claims
31 U.S.C. § 3729(a)(1)(B)

79. Plaintiff incorporates herein by reference and reallege the allegations
stated in Paragraphs | through 74, inclusive, of this Complaint.

80. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) made,
used, or caused to be made or used false records or statements material to false or

fraudulent claims.

 

COMPLAINT 17
Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 21 of 29

 
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81. Defendants knowingly made, used, and/or caused to be made and
used false records and statements, including but not limited to claims, bills,
invoices, requests for reimbursement, and records of services, that were material to
the payment or approval of charges by the Medicare program for hospice services
for patients who were not eligible for Medicare hospice benefits during all or part
of the time.

82. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(B) and
was a substantial factor in causing the United States to sustain damages in an
amount according to proof.

THIRD CAUSE OF ACTION
(In the Alternative)
On Behalf of the United States
Federal False Claims Act, Retention of Proceeds to Which Not Entitled
31 U.S.C. § 3729(a)(1)(G)

83. Plaintiff incorporates herein by reference and reallege the allegations
stated in Paragraphs 1 through 74, inclusive, of this Complaint.

84. In the alternative, Defendants knowingly made, used, or caused to be
made or used, a false record or statement material to an obligation to pay or
transmit money or property to the Government, or knowingly concealed or
knowingly and improperly avoided or decreased an obligation to pay or transmit
money or property to the Government.

85. As discussed above, Defendants received far more money from the
Medicare programs than they were entitled to. Defendants knew that they had
received more money than they were entitled to, and avoided their obligation to
return the excess money to the Government.

86. The conduct of Defendant violated 31 U.S.C. § 3729(a)(1)(G) and
was a substantial factor in causing the United States to sustain damages in an

amount according to proof.

 

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VIII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff, by and through the Relator, prays judgment in its
favor and against Defendants as follows:

1. That judgment be entered in favor of Plaintiff UNITED STATES OF
AMERICA ex rel. CHARLES GONZALES, and against Defendants VITAS
HEALTHCARE CORPORATION and VITAS HEALTHCARE CORPORATION
OF CALIFORNIA, according to proof, as follows:

a. On the First Cause of Action (Presenting False Claims (31
U.S.C. § 3729(a)(1)(A))) damages as provided by 31 U.S.C. § 3729(a)(1), in the

amount of:

lL. Triple the amount of damages sustained by the
Government;
ii. Civil penalties of Ten Thousand Dollars ($10,000.00) for
each false claim;
il. Recovery of costs, attorneys' fees, and expenses;
iv.  Pre- and post-judgment interest;
v. Such other and further relief as the Court deems just and
proper;
b. On the Second Cause of Action (False Claims Act; Making or
Using False Records or Statements Material to Payment or Approval of False
Claims (31 U.S.C. § 3729(a)(1)(B))) damages as provided by 31 U.S.C. §
3729(a)(1) in the amount of:
i. Triple the amount of damages sustained by the
Government;
il. Civil penalties of Ten Thousand Dollars ($10,000.00) for
each faise claim;
iii. Recovery of costs, attorneys' fees, and expenses;

1v. _ Pre- and post-judgment interest;

 

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v. Such other and further relief as the Court deems just and
proper; and
Cc. On the Third Cause of Action (False Claims Act, Retention of
Proceeds to Which Not Entitled (31 U.S.C. § 3729(a)(1)(G))) damages as provided
by 31 U.S.C. § 3729(a)(1) in the amount of:
1. Triple the amount of damages sustained by the
Government;
ii, Civil penalties of Ten Thousand Doilars ($10,000.00) for
each false claim;
ili. Recovery of costs, attorneys’ fees, and expenses;
iv. Pre- and post-judgment interest;
Vv. Such other and further relief as the Court deems just and
proper.

2. Further, Relator, on his own behalf, requests that he receive such
maximum amount as permitted by law, of the proceeds of this action or settlement
of this action collected by the United States, plus an amount for reasonable
expenses incurred, plus reasonable attorneys’ fees and costs of this action. Relator
requests that his percentage be based upon the total value recovered, including any

amounts received from individuals or entities not parties to this action.
Dated: January 26, 2012 COTCHETT, PITRE & McCARTHY, LLP

By:

 

 

 

 

COMPLAINT 20
Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 24 of 29

 
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DEMAND FOR JURY TRIAL
On behalf of Plaintiff United States of America, Relator CHARLES
3 || GONZALES hereby demands a jury trial on all issues so triable.

hm

5 | Dated: January 26, 2012 COTCHETT, PITRE & McCARTHY, LLP

 

   

ERIZ J. Bi ER
9 Attorneys for Relator

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COMPLAIN 344-BCW Document 19-2 Filed 04/04/13 Page 25 of 29

 

 
 

UNITED STA’ JISTRICT COURT, CENTRAL DISTRIC} CALIFORNIA
CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS

UNITED STATES OF AMERICA ex rel. CHARLES GONZALES VITAS HEALTHCARE CORPORATION, a Florida corporation; and VITAS

HEALTHCARE CORPORATION OF CALIFORNIA, a California corporation

 

(b) Attorneys (Firm Name, Address and Telephone Number, If you are representing
yourself, provide same.)

COTCHETT, PITRE & McCARTHY, LLP

840 Malcolm Road, Burlingame, CA 94010
Telephone: (650) 697-6000

Attomeys (If Known)

 

 

Ul. BASIS GF JURISDICTION (Place an X in one box only.) iil. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
1 1U.S.Goverament Plaintiff 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party} Ciuzen of This State QO1 O11  incorported or Principal Place O14 (4
of Business in this State
O2U.5. Government Defendant 14 Diversity (Indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O15 O85
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country 03 O3 Foreign Nation O06 O86

 

 

TY. ORIGIN (Place an X in one box only.}

w1 Original (12 Removed from 03 Remanded from (14 Reinstatedor O15 Transferred from another district (specify): 06 Multi- O7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
, Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: & Yes [No (Check ‘Yes’ only if demanded in complaint)
CLASS ACTION under F.R.C.P. 23: D Yes No

VI CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and writs a brief statement of cause. Do not cite

& MONEY DEMANDED IN COMPLAINT: § To be determined

31 USC § 3729 et seq., violation of the Federal False Claims Act
VI. NATURE OF SUIT (Place an X in one box only.)

Jurisdictional statutes unless diversity.)

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
400 State Reapportionment 10110 Insurance PERSONAL INJURY PERSONAL PETITIONS 1710 Fair Labor Standards
01410 Antitrust 120 Marine (310 Airplane PROPERTY [510 Motions to Act
0430 Banks and Banking 0 130 Miller Act 1315 Airplane Product 0370 Other Fraud Vacate Sentence [9720 Labor/Memt.
0456 Commerce/ICC 0140 Negotiable Instrument Liability — 0371 Truth in Lending Habeas Corpus Relations
Rates/ete. (0150 Recovery of (7320 Assault, Libel& [7380 OtherPersonal {0530 General 01730 Labor/Mgmt
11460 Deportation Overpayment & Slander , Property Damage |[) 535 Death Penalty Reporting &
1470 Racketeer influenced Enforcement of 11330 Fed. Employers’ |r) 385 Property Damage C540 Mandamus/ Disclosure Act
and Corrupt Judgment 1340 Matiity Product Liability Other 01740 Railway Labor Act
Organizations 0151 Medicare Act 0345 Marine Product BANKRUPTCY {01 550 Civil Rights 0790 Other Labor
0489 Consumer Credit 0 152 Recovery of Defaulted Liability 01422 Appeal 28 USC |0555 Prison Condition Litigation
0490 Cable/Sat TY Student Loan (Excl. Nia se asotor Vehicle 158 FORFEITURE/ {0791 Empl. Ret Inc,
11810 Selective Service Veterans} 0355 Motor Vehicte (423 Withdrawal 28 PENALTY Security Act
(850 Securities/Commodities/ | 153 Recovery of Product Liability USC 157 0610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of (0360 Other Personal CIVIL RIGHTS — [1620 OtherFood& {1 820 Copyrights
0875 Customer Challenge 12 Veteran’s Benefits Injury 0441 Voting Drug (830 Patent
USC 3410 0 160 Stockholders’ Suits (1362 Personal injury- {1442 Employment (625 Drug Related 0840 Trademark
390 Other Statutory Actions | 190 Other Contract Med Malpractice [C1443 Housing/Acco- Seizure of SOCIAL SECURITY
O89] Agricultural Act 0195 Contract Product 11365 Personal Injury- mmodations Property 21 USC | 861 HA (1395)
0 892 Economic Stabilization Liability Product Liability |[1444 Welfare 881 11 862 Bieck Lung (923)
Act 0196 Franchise [11368 Asbestos Personal [11445 American with |0 630 LiquorLaws 10863 DIWC/DIWW
0893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 0640 RR. & Truck (405(g))
01894 Energy Allocation Act J0210 Land Condemnation Liability Employment (650 Airline Regs 864 SSID Titie XVI
11895 Freedom of Info, Act [0220 Foreclosure IMMIGRATION O1446 American with {C1660 Occupational [01865 RSI(405(g))
900 Appeal of Fee Determi- |) 230 Rent Lease & Ejectment {0 462 Naturalization Disabilities - Safety (Health FEDERAL TAX SUITS
nation Under Equal 0240 Torts to Land Application Other 0690 Other 0870 Taxes (U.S. Plaintiff
Access to Justice 0.245 Tort Product Liability |{7463 Habeas Corpus- 17) 440 Other Civil or Defendant)
£2950 Constitutionality of {0290 All Other Real Property Alien Detainee | Rights 01871 IRS-Third Party 26
State Statutes 465 hana immigration USC 7609
FOR OFFICE USEONLY: — Case Number:

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71 (05/08) CIVIL COVER SHEET

Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 26 of 29

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UNITED STA. DISTRICT COURT, CENTRAL DISTRIC, CALIFORNIA
CIVIL COVER SHEET

VIN (a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or clased? GNo Yes
If yes, list case number(s):

 

VIi(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No O Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case;
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. lnvoive the same patent, trademark or copyright, and one of the factors identified above in a, b orc also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

@) List the County in this District, Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
Check here if the government, its agencies or employees is a named plaintiff. Hf this box is checked, go to item (b).

 

County in this District * California County outside of this District; State, if other than Califormia; or Foreign Country
Los Angeles

 

 

(b) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O) Check here ifthe government, its agencies or employees is a named defendant, If this box is checked, go to item (c).

 

County in this District * Californie County outside of this District; State, if other than California; or Foreign Country
Los Angeles Florida

 

 

 

 

(c} List the County in this District California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose,
Note: In land condemnation cases, use the location of the tract of land involved. .

 

County in this District:* . California County outside of this District; State, if other than California; or Foreign Country
iLos Angeles

 

 

 

 

 

* Los Angeles, Orange,.San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases. use the location of the tract of land involved

 

   
  

Date January 26, 2012

 

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover t and the i
or other papers as required by law. This form, approved by the Judicial Confere
but is used by the Clerk of the Court for the purpose of statistics, venue and initiati

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program, (42 U.S.C, 1935FF(b))

 

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969,
(30 U.S.C, 923} ‘

863 DIwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as

, . amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C, 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended, (42
USC. (g)}

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2

Case 4:13-cv-00344-BCW Document 19-2 Filed 04/04/13 Page 27 of 29
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Manuel Real and the assigned discovery
Magistrate Judge is Paul Abrams.

The case number on all documents filed with the Court should read as follows:
CV12- 761 R (PLAx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

Unless otherwise ordered, the United States District Judge assigned to this case will
hear and determine all discovery related motions.

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division LJ Southern Division | Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

“Case 4°13-cv-OO344- BOW Document 1-2 Fie GIO Es 95 Ge BPS
Name & Address:

COTCHETT, PITRE & McCARTHY, LLP
840 Malcolm Road

Burlingame, CA 94010

 

 
    
 

UNITED STATES DISTRICT C
CENTRAL DISTRICT, {
UNITED STATES OF AMERICA ex rel. y bs Scar 7 bat

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VITAS HEALTHCARE CORPORATION,
a Florida corporation; and VITAS HEALTHCARE

CORPORATION OF CALIFORNIA, a California SUMMONS
corporation,

 

DEFENDANT(S).

 

TO: DEFENDANT(S):
A lawsuit has been filed against you.

Within__21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached © complaint O amended complaint
C counterclaim D cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Justin Berger , whose address is
Cotchett, Pitre & McCarthy, LLP, 840 Malcolm Road, Burlingame, CA 94010 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

 

 

 

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(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)).

 

CV-O1A (10/11 SUMMONS

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